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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                 (Greenbelt Division)

__________________________________________
                                                    )
 THERESA TOLBERT-BOYD, individually                 )
 and as Personal Representative of the Estate       )
 of DONALD FRANICE BOYD,                            )
 3630 Brothers Place, SE, Apt #103                  )
 Washington, DC 20032                               )
                                                    )
        Plaintiff,                                  )
                                                    )
 v.                                                 ) Civil Action No. 8:19-cv-3020
                                                    )
 MGM NATIONAL HARBOR, LLC                           )
 3950 Las Vegas Blvd South                          )
 Las Vegas, Nevada 89119                            )
                                                    )
 and                                                )
                                                    )
 NATIONAL HARBOR GRAND, LLC                         )
 165 Waterfront Street                              )
 National Harbor, Maryland 20745                    )
                                                    )
        Defendants.                                 )
                                                    )

                                   NOTICE OF REMOVAL

       Defendant MGM National Harbor, LLC (“MGM National”) and Defendant National

Harbor Grand, LLC (“National Harbor”) (collectively, “Defendants’), by counsel and pursuant to

28 U.S.C. §§ 1332(a), 1441 and 1446, hereby gives notice of the removal to this Court of an

action commenced against Defendants in the Circuit Court of Maryland for Prince George’s

County, styled Theresa Tolbert-Boyd, individually and as Personal Representative of the Estate

of Donald Franice Boyd v. MGM National Harbor, LLC, et al., Case No. CAL19-28335

(“Circuit Court Action”). In support of this removal, Defendants state as follows:
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                                     The Circuit Court Action

       1.      On or about August 29, 2019, Plaintiff Theresa Tolbert-Boyd, individually and as

Personal Representative of the Estate of Donald Franice Boyd (“Plaintiff”), filed a Complaint

against Defendants in the Circuit Court Action.

       2.      In accordance with 28 U.S.C. § 1446, a copy of all process, pleadings and orders

that were served on MGM National in the Circuit Court Action are attached hereto as Exhibit A.

       3.      In accordance with 28 U.S.C. § 1446, a copy of all process, pleadings and orders

that were served on National Harbor in the Circuit Court Action are attached hereto as Exhibit B.

                               Jurisdiction and Basis for Removal

       4.      Pursuant to 28 U.S.C. § 1332(a)(1), this Court has original jurisdiction over this

case, in that this is a civil action between citizens of different States and the amount in

controversy exceeds the sum of $75,000.00, exclusive of interest and costs.

       5.      Upon information and belief, Plaintiff is a resident of Washington, D.C. and the

Plaintiff’s decedent at issue in this case, Donald Franice Boyd, was also a resident of

Washington, D.C. See Exhibit A, Complaint at ¶¶ 2-3.

       6.      MGM National is a citizen of Nevada. MGM National is a limited liability

company formed under the laws of the State of Nevada. See Exhibit C, Affidavit of MGM at ¶ 4.

MGM National has a single member, which is MGM Resorts International. Id. at ¶ 5. MGM

Resorts International is a corporation formed under the laws of the State of Delaware with its

principal place of business located in Nevada. Id. at ¶ 6.

       7.      National Harbor is a citizen of Virginia. National Harbor is a limited liability

company formed under the laws of the State of Maryland. See Exhibit D, Affidavit of National

Harbor at ¶ 4. National Harbor has five (5) members. Id. at ¶ 5. Four (4) of National Harbor's




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members are limited partnerships that were formed in Virginia. The individuals owning direct or

indirect interests in each of these four (4) limited partnerships are residents of Virginia. Id. at ¶

6. The fifth member of National Harbor is a trust formed in Virginia. The grantor of

the trust is a Virginia resident and the trust’s principal place of business also is in Virginia. Id. at

¶ 7.

        8.      The Complaint states that $5,000,000.00 is sought for the alleged damages in the

Circuit Court Action. See Exhibit A, Complaint at “Wherefore” clauses in Counts One and Two.

        9.      Defendants have filed this Notice of Removal within thirty (30) days of their

receipt of the initial pleading and summons in the Circuit Court Action.

        10.     Defendants are the only two (2) defendants named in the Circuit Court Action and

based thereupon allege that there are no other defendants who have been served in the Circuit

Court Action and accordingly, there are no other defendants who would be required to join in

this Notice of Removal.

        11.     Concurrent with the filing of this Notice of Removal, Defendants have filed a

copy of the Notice of Removal with the aforementioned Circuit Court of Maryland for Prince

George’s County.

        12.     Defendants represent that they have complied with all procedures set forth in

28 U.S.C. § 1446.

        WHEREFORE, MGM National Harbor, LLC and National Harbor Grand, LLC,

Defendants in the Circuit Court Action mentioned above, respectfully request that this matter be

removed from the Circuit Court of Maryland for Prince George’s County to the United States

District Court for the District of Maryland, that the United States District Court for the District of




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Maryland issue such orders and process as are necessary to preserve its jurisdiction over this

matter, and for such other and further relief as this Court deems appropriate.



                                              Respectfully submitted,

                                              MGM NATIONAL HARBOR, LLC AND
                                              NATIONAL HARBOR GRAND, LLC

                                              By Counsel:


Dated: October 16, 2019                        /S/ Jason C. Constantine
                                              Jason C. Constantine
                                              MOORE & LEE, LLP
                                              1751 Pinnacle Drive, Suite 1100
                                              McLean, Virginia 22102
                                              Telephone: (703) 506-2050
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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on the 16th day of October, 2019, I caused a true copy of the

foregoing to be served by first class mail, on:

               Brian K. McDaniel, Esq.
               THE MCDANIEL LAW GROUP, PLLC
               1920 L Street, NW, Suite 303
               Washington, DC 20036
               Counsel for Plaintiff



                                               /S/ Jason C. Constantine________
                                              Jason C. Constantine




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